          Case 2:17-cr-00189-WBS Document 21 Filed 02/26/18 Page 1 of 7


 1   DAVID J. COHEN, ESQ.
     California Bar No. 145748
 2
     BAY AREA CRIMINAL LAWYERS, PC
 3   300 Montgomery Street, Suite 660
     San Francisco, CA 94104
 4   Telephone: (415) 398-3900
 5
     Attorneys for Defendant Yama Marifat
 6
 7
 8
                                       UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                         )      Case No. 2:17-cr-00189-WBS
12                                                     )
                      Plaintiff,                       )      MR. MARIFAT’S MOTION TO DISMISS
13                                                     )      THE INDICTMENT AS INSUFFICIENT
14   v.                                                )
                                                       )      Date: April 16, 2018
15   YAMA MARIFAT,                                     )      Time: 9:00 a.m.
                                                       )      Ctrm: 5
16                    Defendant.                       )
17                                                     )

18   TO:      MCGREGOR SCOTT, ESQ., UNITED STATES ATTORNEY, EASTERN DISTRICT
              OF CALIFORNIA AND KELSEY LINNETT, ESQ., ASSISTANT UNITED STATES
19            ATTORNEY, EASTERN DISTRICT OF CALIFORNIA:
20
              PLEASE TAKE NOTE that on April 16, 2018 at 9:00 a.m., or as soon thereafter as the
21
     motion may be heard, in the courtroom of the Honorable William B. Shubb, defendant Yama Marifat
22
23   will move this Court to dismiss the Indictment for lack of specificity, pursuant to Federal Rule of

24   Criminal Procedure, Rule 12(b)(3)(B). This motion is based on the following memorandum of
25   points and authorities, the Constitution of the United States, all relevant statutory authority and case
26
     law, and such argument as the Court will entertain at the motion hearing.
27
28

     Mr. Marifat’s Motion to Dismiss the Indictment as Insufficient
     U.S. v. Marifat
     Case No. 2:17-cr-00189-WBS                               1
         Case 2:17-cr-00189-WBS Document 21 Filed 02/26/18 Page 2 of 7


 1                           MEMORANDUM OF POINTS AND AUTHORITIES
 2
                                                              I.
 3
                                                   INTRODUCTION
 4
               Defendant Yama Marifat is charged in a single count indictment with the following: Count
 5
 6   1, a violation of 15 U.S.C. § 1, alleging a conspiracy to unreasonably restrain trade in violation of

 7   the Sherman Act. Mr. Marifat now moves this Court for an order dismissing the indictment for
 8
     failure to state a claim with specificity, pursuant to Federal Rule of Criminal Procedure, Rule
 9
     12(b)(3)(B). Contemporaneous with the filing of this motion, Mr. Marifat is filing a motion for a bill
10
     of particulars, seeking additional information and clarity about the nature of the allegation in order
11
12   to ensure that the Indictment contains the elements of the charged offense in sufficient detail for Mr.

13   Marifat to prepare his defense; ensure him that he is being prosecuted on the basis of the facts
14
     presented to the grand jury; enable him to plead double jeopardy; and inform the court of the alleged
15
     facts so that it can determine the sufficiency of the charge.1
16
17             The Indictment alleges a conspiracy to rig bids, in violation of 15 U.S.C. § 1, but the factual

18   details of the allegation are so sparse that they do not provide Mr. Marifat with sufficient notice of

19   charges such that he can prepare a defense and plead a bar to subsequent prosecutions based upon
20
     similar facts and/or allegations. The Indictment must either be dismissed for failure to state an
21
     offense with sufficient specificity or, if possible, supplemented by a bill of particulars. Therefore,
22
23   Mr. Marifat respectfully requests that this Court order the indictment dismissed in its entirety.

24                                                           II.
25                                                    ARGUMENT
26
               A.       Applicable Law Regarding a Motion to Dismiss for Insufficient Specificity.
27
28   1
         Mr. Marifat hereby incorporates his Motion for a Bill of Particulars into the present motion.

     Mr. Marifat’s Motion to Dismiss the Indictment as Insufficient
     U.S. v. Marifat
     Case No. 2:17-cr-00189-WBS                               2
       Case 2:17-cr-00189-WBS Document 21 Filed 02/26/18 Page 3 of 7


 1           The core purpose of an indictment is to provide notice of the charges against the defendant.
 2
     Notice must be clear and must, at the very least, “‘fairly inform[] a defendant of the charge against
 3
     which he must defend’” such that he may plead, prepare a defense, ensure he is prosecuted on the
 4
     basis of facts presented to the grand jury, protect against future prosecution, and inform the court of
 5
 6   the facts alleged to evaluate the sufficiency of the evidence. See United States v. Resendiz-Ponce,

 7   549 U.S. 102, 108 (2007) (citing Hamling v. United States, 418 U.S. 102, 117 (1974)); see also
 8
     United States v. Cecil, 608 F.2d 1294, 1296 (9th Cir. 1979) (citing Russell v. United States, 369 U.S.
 9
     749, 763, 768 n.15 (1962)); United States v. Lane, 765 F.2d 1376 (9th Cir. 1985).
10
             Under Rule 12(b) of the Federal Rules of Criminal Procedure, a party may file a motion to
11
12   dismiss based on “any defense, objection, or request that the court can determine without a trial of

13   the general issue.” Fed. R. Crim. P. 12(b); United States v. Shortt Accountancy Corp., 785 F.2d
14
     1448, 1452 (9th Cir. 1986). “However, ‘a district court may make preliminary findings of fact
15
     necessary to decide the questions of law presented by pre-trial motions so long as the court’s findings
16
17   on the motion do not invade the province of the ultimate finder of fact.’” United States v. Shortt

18   Accountancy Corp., 785 F.2d 1448, 1452 (9th Cir. 1986) (quoting United States v. Jones, 1976, 542

19   F.2d 661, 664 (6th Cir. 1976)). In considering a motion to dismiss, the court is limited to the face
20
     of the indictment and must accept the facts alleged in that indictment as true. See United States v.
21
     Lyle, 742 F.3d 434, 436 (9th Cir. 2014); Winslow v. United States, 216 F.2d 912, 913 (9th Cir. 1955).
22
23           In Russell v. United States, 369 U.S. 749 (1962), a defendant was charged, under 2 U.S.C.

24   § 192, with refusing to answer certain questions when summoned before a congressional
25   subcommittee. In that case, the indictment failed to identify the subject under congressional
26
     subcommittee inquiry at the time the witness was interrogated, merely tracking the language of the
27
     statute by stating that the questions “were pertinent to the questions then under inquiry.” Russell, 369
28

     Mr. Marifat’s Motion to Dismiss the Indictment as Insufficient
     U.S. v. Marifat
     Case No. 2:17-cr-00189-WBS                               3
       Case 2:17-cr-00189-WBS Document 21 Filed 02/26/18 Page 4 of 7


 1   U.S. at 751-52. The Court held that technical deficiencies in an indictment will not result in
 2
     dismissal, but an adequate indictment must still offer the same procedural protections “a grand jury
 3
     indictment was intended to confer[.]” Russell, 369 U.S. at 763. An indictment may track the
 4
     language of the statute, as long as “those words of themselves fully, directly, and expressly, without
 5
 6   any uncertainty or ambiguity, set forth all the elements necessary to constitute the offense intended

 7   to be punished.” Hamling v. United States, 418 U.S. 87, 117 (1974) (quoting United States v. Carll,
 8
     105 U.S. 611, 612 (1882)). “An indictment not framed to apprise the defendant ‘with reasonable
 9
     certainty, of the nature of the charges against him ... is defective, although it may follow the language
10
     of the statute.’” Russell v. United States, 369 U.S. 749, 765 (1962) (quoting United States v.
11
12   Simmons, 96 U.S. 360, 362 (1877)).

13           To be sufficient to a defendant's motion to dismiss, an indictment must contain “the elements
14
     of the charged offense in sufficient detail (1) to enable the defendant to prepare his defense; (2) to
15
     ensure him that he is being prosecuted on the basis of the facts presented to the grand jury; (3) to
16
17   enable him to plead double jeopardy; and (4) to inform the court of the alleged facts so that it can

18   determine the sufficiency of the charge." United States v. Rosi, 27 F.3d 409, 414 (9th Cir. 1994). “To

19   perform these functions, the indictment must set forth the elements of the offense charged and
20
     contain a statement of the facts and circumstances that will inform the accused of the specific offense
21
     with which he is charged.” United States v. Cecil, 608 F.2d 1294, 1296 (9th Cir. 1979) (citing
22
23   Hamling v. United States, 418 U.S. 87, 117-18 (1974)).

24           B.       The Indictment Insufficiently Pleads Facts Constituting the Alleged Offense.
25           In the present case, Mr. Marifat is alleged to have knowingly entered into a conspiracy with
26
     other individuals to suppress and eliminate competition by rigging bids to obtain selected properties
27
     at public real estate foreclosure auctions in San Joaquin County, beginning in or about April 2009
28

     Mr. Marifat’s Motion to Dismiss the Indictment as Insufficient
     U.S. v. Marifat
     Case No. 2:17-cr-00189-WBS                               4
       Case 2:17-cr-00189-WBS Document 21 Filed 02/26/18 Page 5 of 7


 1   and continuing until in or about October 2009. See Exhibit A, October 19, 2017 Indictment. The
 2
     averments in the indictment, however, do not allege the elements in sufficient detail so as to “provide
 3
     the ‘substantial safeguards’ to [Mr. Marifat] that indictments are designed to guarantee, United States
 4
     v. Cecil, 608 F.2d 1294, 1296 (9th Cir. 1979) (quoting Russell v. United States, 369 U.S. 749, 763
 5
 6   (1962)), such as the ability to prepare his defense or plead a bar to subsequent prosecution for

 7   similarly alleged conduct.
 8
             One of the primary hurdles in preparing a defense to the charges, or in ensuring that
 9
     subsequent prosecutions would be barred, is the overly general allegation made in the Indictment
10
     with sparse factual details supporting those allegations. There are no specifics regarding who was
11
12   involved, how many people were involved, when the conspiracy began, when Mr. Marifat joined the

13   conspiracy, when Mr. Marifat or others took any of the described actions alleged, whether Mr.
14
     Marifat or other individuals played different roles in the alleged conspiracy, or any specifics about
15
     how the alleged conspiracy operated.
16
17           The Indictment contains very limited and general statements of the factual circumstances

18   surrounding the allegation, particularly in light of the extensive amount of discovery received by the

19   defense with respect to this case that indicates a large number of individuals potentially involved in
20
     the alleged conspiracy or conspiracies at potentially different times. While the Indictment alleges
21
     several means and methods of the alleged conspiracy, the limited detail describing the methods
22
23   utilized by the co-conspirators does not allege what role Mr. Marifat, or any other identified

24   individual, actually had in this alleged conspiracy. See Dkt. 1 ¶ 4. With respect to the specific
25   conduct alleged, all that is described with certainty is that Mr. Marifat purchased real estate at public
26
     auction in San Joaquin County. Id. at ¶ 6. The Indictment does not articulate the number of
27
     properties allegedly purchased by Mr. Marifat, or others, pursuant to the alleged conspiracy.
28

     Mr. Marifat’s Motion to Dismiss the Indictment as Insufficient
     U.S. v. Marifat
     Case No. 2:17-cr-00189-WBS                               5
       Case 2:17-cr-00189-WBS Document 21 Filed 02/26/18 Page 6 of 7


 1           The Indictment alleges a conspiracy to rig bids based upon an agreement between the
 2
     conspirators not to compete with one another, but the Indictment does not identify how many other
 3
     co-conspirators were involved, or even identify a single named individual with whom Mr. Marifat
 4
     is alleged to have conspired. It is not clear if the Government is alleging that Mr. Marifat engaged
 5
 6   in a conspiracy with two other individuals or twenty. The discovery in this case indicates the

 7   potential involvement of a significant number of other individuals, however, the Indictment is not
 8
     written in a way that provides notice to Mr. Marifat about the nature of the alleged conspiracy or the
 9
     allegations against which he must defend. This Indictment may be interpreted as an agreement
10
     between any number of unknown individuals, and does not exclude the possibility that the
11
12   Government may alleged there to be separate, overlapping, or parallel conspiracies, rendering it

13   impossible to determine which of these conspiracies would be barred by a subsequent prosecution.
14
     Nothing about the Indictment provides notice to Mr. Marifat sufficient for him to prepare a defense
15
     to the allegations or plead a bar to future prosecution, as the Indictment is alleging that he conspired
16
17   with an unknown number of unknown persons in which he participated by purchasing property

18   pursuant to a general agreement not to compete.

19           Further, while the Indictment alleges a conspiracy over a period of approximately six months,
20
     the Indictment does not make clear whether Mr. Marifat is alleged to have been involved during this
21
     entire time period, if he joined the conspiracy at some point within that larger timeframe, or even if
22
23   the conspiracy lasted for a longer period of time and the six month time period is a subset of the

24   longer conspiracy. The unclear nature of the timeframe of the alleged conspiracy, or the timeframe
25   of Mr. Marifat’s alleged participation in the conspiracy, does not provide sufficient information
26
     about the allegation such that Mr. Marifat can prepare a defense to the general allegations raised by
27
28

     Mr. Marifat’s Motion to Dismiss the Indictment as Insufficient
     U.S. v. Marifat
     Case No. 2:17-cr-00189-WBS                               6
         Case 2:17-cr-00189-WBS Document 21 Filed 02/26/18 Page 7 of 7


 1   the remainder of the Indictment or plead a bar to subsequent prosecutions.2
 2
             In total, the Indictment in the present case does not provide sufficient factual detail to fairly
 3
     inform Mr. Marifat of the charges in such a way that he may plead a bar to subsequent prosecutions,
 4
     prepare a defense to these charges, ensure he is prosecuted on the basis of facts presented to the
 5
 6   grand jury, or inform the court of the facts alleged to evaluate the sufficiency of the charges. Without

 7   more detail regarding the identity and number of participants in the alleged conspiracy, the details
 8
     of Mr. Marifat’s alleged agreement with one or more of these identified individuals, and the role or
 9
     roles Mr. Marifat and the other conspirators allegedly agreed to as part of this conspiracy, the
10
     Indictment is insufficient to satisfy its core functions and must be dismissed.
11
12                                                          III.

13                                                  CONCLUSION
14
             For the aforementioned reasons, this Court should hold that, pursuant to Federal Rule of
15
     Criminal Procedure, Rule 12(b)(3)(B), the Indictment fails to state an offense with sufficient
16
17   specificity, and dismiss the indictment in its entirety.

18   Dated: February 26, 2018                             Respectfully submitted,

19                                                        BAY AREA CRIMINAL LAWYERS, PC
20
                                                      By: /s/David J. Cohen
21                                                      DAVID J. COHEN, ESQ.

22                                                        Attorneys for Defendant Yama Marifat
23
24
     2
25     While the Indictment does not identify any of the other alleged co-conspirators, a review of the discovery
     provided in this case indicates that other members of the alleged conspiracy potentially involve Andrew
26   Katakis and Donald Parker, who were separately charged and convicted. It is noteworthy that the indictment
     filed against Mr. Katakis and Mr. Parker involves a separate timeframe from that involving Mr. Marifat,
27   raising concerns and questions about whether the alleged conspiracy is the same one alleged against those
     defendants, and raising concerns about Mr. Marifat’s ability to plead a bar to subsequent prosecutions for
28   similarly alleged conspiracies. See Eastern District of California, Case 2:11-cr-00511-WBS, Dkt. 136, filed
     May, 8, 2013.
     Mr. Marifat’s Motion to Dismiss the Indictment as Insufficient
     U.S. v. Marifat
     Case No. 2:17-cr-00189-WBS                               7
